                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS

John McDonald,
          Plaintiff,
      v.
J.B. Pritzker, in his official capacity as        Case No. __________________
Governor of Illinois, and Grace B. Hou,
in her official capacity as Secretary of
the Illinois Department of Human
Services,
              Defendants.

              COMPLAINT FOR DECLARATORY AND INJUNCTIVE
                 RELIEF, AND COMPENSATORY DAMAGES


      Plaintiff John McDonald, by and through his undersigned counsel, hereby

alleges as follows:

                            PRELIMINARY STATEMENT

      1.     The State of Illinois has announced that COVID-19 gives it the right to

shut down services to intellectually and developmentally disabled individuals

because, in the State’s view, those individuals cannot be trusted to wash their hands

or wear a face mask. That such rank discrimination still exists, as a matter of official

policy at the highest level of state government, is both morally repugnant and plainly

illegal. Because the State’s flagrantly discriminatory policy violates federal anti-

discrimination statutes and the Equal Protection Clause, this Court should enjoin the

State’s actions discriminatorily shutting down the essential services provided by

Community Day Services (“CDS”) programs, as well as award damages for the harm

that Defendants have caused.
      2.     CDS programs, and their predecessor Developmental Training

programs, have long offered critically important services to the intellectually and

developmentally disabled citizens of this State.      These programs offer disabled

citizens assistance in gaining and improving self-help, socialization, and adaptive

skills in a non-residential setting; training on quantitative skills; and enhancing

productive work activities.

      3.     To combat the transmission of COVID-19, Defendant Governor J.B.

Pritzker has declared a state of emergency. Once Illinois began to “flatten the curve”

on COVID-19 transmissions, Defendant Governor Pritzker began to reopen the State

and restart the economy, announcing his “Restore Illinois” Plan to return to work in

phases. Currently in “Phase 3 – Recovery,” non-essential manufacturing and other

non-essential businesses can reopen with social distancing, personal protective

equipment, and adequate sanitation practices. Furthermore, both outdoor recreation

and non-overnight day camps for children may re-open under “Phase 3,” as long as

adequate safety measures are in place. And upon entering “Phase 4 – Revitalization,”

which the entire State is on pace to enter on June 26, all manufacturing, non-

essential businesses, outdoor recreation, bars and restaurants, health and fitness

clubs, and movie theaters can open while following approved safety guidance, and

public gatherings of 50 or fewer people can resume.

      4.     Unlike all of these entities, Defendants have omitted CDS programs

from the State’s restart efforts despite their obvious similarities to manufacturing

businesses and non-overnight day camps for children, both of which are presently


                                         -2-
allowed to operate.     Instead, Defendants have shuttered these CDS programs

completely since March 17, 2020, and have recently announced the closures will

extend at least through August 31, 2020.           Moreover, while even recreational

businesses like bars, fitness clubs, and movie theaters will soon be able to operate if

following approved safety guidance, the essential services CDS programs offer to the

disabled citizens of this State will remain shuttered by Defendants’ decree.

       5.     Defendants have refused to consider whether CDS programs can abide

by the health and safety protocols developed by State and national experts, which

would render CDS programs just as safe as the businesses and programs currently

allowed to operate, instead contending that the intellectually and developmentally

disabled are simply incapable of sufficiently “following instructions, understanding

the need for and/or maintaining social distancing, hand washing[,] and the need to

wear masks in enclosed environments” as a class of persons. John F. Schomberg,

General Counsel to Ill. Dep’t of Human Servs., Letter to Counsel for Plaintiff (June

19, 2020), Attached as Exhibit A. Thus, DHS has explicitly admitted that its decision

to deprive Plaintiff of the essential CDS program he requires is based on the “serious

and pervasive social problem” of disability discrimination, including “overprotective

rules and policies” and “exclusionary qualification standards and criteria” that

Congress expressly endeavored to stamp out. 42 U.S.C. § 12101(2), (5).

       6.     While the COVID-19 pandemic has led to difficult decisions across the

country, it does not provide states with cover to violate their citizens’ federal statutory




                                           -3-
and constitutional rights, notwithstanding Defendants’ appalling and openly

discriminatory beliefs about disabled people.

      7.     Defendants’ ongoing closure of all CDS programs for disabled

individuals violates Plaintiff’s right to be free from discrimination under Section 504

of the Rehabilitation Act, 29 U.S.C. § 794, and Title II of the Americans with

Disabilities Act (“ADA”), 42 U.S.C. § 12132, and his rights under the Equal Protection

Clause of the Fourteenth Amendment, U.S. Const. amend. XIV, § 1.

      8.     This action seeks immediate relief from Defendants’ shuttering of CDS

programs for the disabled, by way of a temporary restraining order or preliminary

injunction, a permanent injunction, and a declaratory judgment that the challenged

action is contrary to federal law, unconstitutional, and void.     This action further

seeks compensatory damages for Defendants’ illegal and unconstitutional conduct.

                     PARTIES, JURISDICTION, AND VENUE

      9.     Plaintiff John McDonald is a 46-year-old man with intellectual and

developmental disabilities. He is deaf and legally blind, but able to communicate

primarily with sign language. At all times relevant to the allegations herein, he has

received services from CDS providers, primarily working at the Community

Workshop and Training Center, Inc. (“CWTC”), in his hometown of Peoria, Illinois.

      10.     Defendant Pritzker is and was Governor of Illinois and is and was

acting under color of state law, in his official capacity, at all times relevant herein.

He lives and works in Cook County, Illinois. Defendant Pritzker’s principal place of

business is the Office of the Governor, James R. Thompson Center, Chicago, Illinois.


                                          -4-
His address for service of process is Office of the Governor, 100 W. Randolph St., 16-

100, Chicago, IL 60601.

      11.    Defendant Hou is and was Secretary of the Illinois Department of

Human Services (“DHS”) and is and was acting under color of state law, in her official

capacity, at all times relevant herein.    In her official capacity, Defendant Hou,

through her agency’s Division of Developmental Disabilities, is responsible for

providing comprehensive services, including CDS services, to people with intellectual

and developmental disabilities. Defendant Hou’s principal place of business is in the

Chicago Office of DHS, Chicago, Illinois. Her address for service of process is 401

South Clinton St., Seventh Floor, Chicago, IL 60607.

      12.    This action raises federal questions under the Fourteenth Amendment

of the United States Constitution, U.S. Const. amend. XIV, § 1, and under federal

law, 29 U.S.C. § 794; 42 U.S.C. § 12132, as well as 42 U.SC. § 1983.

      13.    This Court has jurisdiction over these federal claims under 28 U.S.C.

§§ 1331 and 1343.

      14.    This Court has authority to grant the requested injunctive relief under

28 U.S.C. § 1343(a)(3), the requested declaratory relief pursuant to 28 U.S.C. §§ 2201

and 2202, and Plaintiffs’ prayer for costs, including reasonable attorneys’ fees, under

42 U.S.C. § 1988 and 28 U.S.C. § 1920.

      15.    Venue is proper in the Northern District of Illinois pursuant to 28 U.S.C.

§ 1391, as Defendants reside in this District and all Defendants are residents of the




                                          -5-
State of Illinois, 28 U.S.C. § 1391(b)(1), and a substantial part of the events giving

rise to the claims herein arose in this District, 28 U.S.C. § 1391(b)(2).

                                      BACKGROUND

                          The Governor’s Response To COVID-19

      16.       In early March 2020, public health officials began finding evidence of

community transmission of the COVID-19 virus in Illinois.

      17.       On March 9, 2020, in response to this finding, Defendant Governor

Pritzker announced a state of emergency for the entire State of Illinois.

Gubernatorial Disaster Proclamation (Mar. 9, 2020).1

      18.       Thereafter, Defendant Governor Pritzker, through a series of executive

orders, prohibited public gatherings, closed all bars and restaurants to in-person

dining, closed schools and nonessential businesses, and entered a statewide stay-at-

home order for all citizens not performing essential functions. See, e.g., Executive

Order 2020-10 (Mar. 20, 2020).2

      19.       Defendant Governor Pritzker deemed these measures necessary to stop

the rapid spread of COVID-19, especially among our most vulnerable populations. Id.

In particular, the CDC has explained that both the elderly, see CDC, Coronavirus




      1  Available at https://www2.illinois.gov/sites/gov/Documents/CoronavirusDisaster
Proc-3-12-2020.pdf.
      2    Available at https://www2.illinois.gov/Pages/Executive-Orders/ExecutiveOrder2020-
10.aspx.



                                             -6-
Disease 2019 (COVID-19): Older Adults (Apr. 30, 2020),3 and persons with underlying

chronic medical conditions, see CDC, Coronavirus Disease 2019 (COVID-19): Clinical

Questions about COVID-19: Questions and Answers (June 4, 2020),4 face increased

threats from contracting COVID-19 when compared to the general population. The

intellectually and developmentally disabled, on the other hand, “are not inherently

at higher risk for becoming infected with or having severe illness from COVID-19.”

CDC, Coronavirus Disease 2019 (COVID-19): People with Disabilities (Apr. 7, 2020).5

       20.      On May 5, 2020, once Illinois began to “flatten the curve” on COVID-19

transmissions, Defendant Governor Pritzker announced his supposedly “data-driven”

“Restore Illinois” Plan, see Office of the Governor, Restore Illinois: A Public Health

Approach to Safely Reopen Our State (May 5, 2020),6 under which each of four regions

of the State would return to non-essential business and other normal operations once

they met certain thresholds, Lecia Bushak, Ill. Newsroom, Gov. Pritzker Announces

‘Restore Illinois’ Plan to Re-Open State in Five Phases (May 5, 2020).7 Defendant




       3 Available at https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/
older-adults.html.
       4     Available   at   https://www.cdc.gov/coronavirus/2019-ncov/hcp/faq.html#Trans
mission.
       5 Available at https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/
people-with-disabilities.html.
       6  Available  at  https://coronavirus.illinois.gov/sfc/servlet.shepherd/document/
download/069t000000BadS0AAJ?operationContext=S1.
       7  Available at https://illinoisnewsroom.org/gov-pritzker-announces-restore-illinois-
plan-to-re-open-state-in-five-phases/.


                                            -7-
Governor Pritzker’s Plan expressly provides that it “can and will be updated to reflect

the latest science and data.” Governor, Restore Illinois, supra.

      21.    Upon announcing the Plan, Defendant Governor Pritzker also

announced that the State had already progressed into “Phase 2 – Flattening,” which

he claimed was marked by his issuing a modified stay-at-home order effective May 1,

2020. Id.; see also Executive Order 2020-32 (Apr. 30, 2020).8

      22.    By June 3, 2020, all of Illinois entered “Phase 3 – Recovery” of the Plan.

Executive Order 2020-38 (May 29, 2020)9; see also NBCChicago, Illinois Enters Phase

3 of Reopening Plan: Here’s What’s Changing (May 29, 2020).10 In “Phase 3 –

Recovery” of the Plan, non-essential manufacturing and non-essential businesses are

allowed to return to work with social distancing and by following Illinois Department

of Public Health-approved safety guidance, and businesses are “encouraged to

provide accommodations for COVID-19-vulnerable employees.” Governor, Restore

Illinois, supra. Non-overnight recreational day camps for children are allowed to

operate, as well as limited child-care services, consistent with approved safety




      8   Available   at   https://www2.illinois.gov/Pages/Executive-Orders/ExecutiveOrder
2020-32.aspx.
      9   Available   at   https://www2.illinois.gov/Pages/Executive-Orders/ExecutiveOrder
2020-38.aspx.
      10  Available at https://www.nbcchicago.com/news/local/illinois-enters-phase-3-of-
reopening-plan-heres-whats-changing/2279871/.


                                           -8-
guidance and sanitation procedures. Governor, Restore Illinois, supra; Ill. Dep’t of

Commerce, Day Camps Guidelines (May 24, 2020).11

      23.    In “Phase 4 - Revitalization”—which can begin as soon as June 26, with

Defendant Governor Pritzker recently announcing that all four regions are currently

on pace to meet that transition date, NBCChicago, All 4 Regions in Illinois on Track

to Enter Phase 4 Next Week, Pritzker Says (June 18, 2020)12—all manufacturing,

non-essential businesses, outdoor recreation, bars, restaurants, health and fitness

clubs, and movie theaters can open with approved safety guidance, and public

gatherings of 50 or fewer people can resume. Governor, Restore Illinois, supra.

Furthermore, all schools, institutes of higher education, summer programs, and

child-care services are permitted to open with approved safety guidance. Id.

      24.    On June 4, Defendant Governor Pritzker announced that all public and

private schools serving pre-kindergarten through 12th grade in the State could open

for summer school, following the completion of the regular 2019–2020 school year.

Executive Order 2020-40 (June 4, 2020).13




      11   Available at https://dceocovid19resources.com/assets/Restore-Illinois/business
guidelines3/summerprograms.pdf.
      12   Available at https://www.nbcchicago.com/news/local/all-4-regions-in-illinois-on-
track-to-enter-phase-4-next-week-pritzker-says/2291864/.

      13  Available at https://www2.illinois.gov/Pages/Executive-Orders/ExecutiveOrder
2020-40.aspx.

                                           -9-
     CDS Programs And The State’s Unlawful Closure Of All Such Operations

      25.     CDS programs provide intellectually and developmentally disabled

adults assistance in gaining and improving self-help, socialization, and adaptive

skills in a non-residential setting, with a particular emphasis on training in

quantitative skills and enhancement of productive work activities. These programs

offer both skills training and job coaching to help developmentally disabled

individuals succeed in their communities and the workplace.

      26.    CDS programs also offer disabled adults opportunities to work both in

the community and at the CDS program’s building. These jobs offer disabled adults

additional skills and job training, while also providing many participants with their

only opportunities to hold a job and earn income.

      27.    DHS, under the direction of Defendant Secretary Hou, regulates and

administers CDS programs, and both the State and DHS receive federal funding to

assist with such programs.

      28.    Beginning on March 17, DHS has shuttered all CDS programs for the

disabled statewide, barring any of the disabled workers from returning to work or

receiving services from such programs.

      29.    Disabled workers were paid through March 17, but have not received

work or payment since, except for some lingering checks related to prior work.

      30.    DHS’s COVID-19 guidance for CDS providers states that they may no

longer provide their services to disabled workers, but that “CDS funds will be used to




                                         - 10 -
pay staff salaries” in the interim. DHS, UPDATED – COVID 19 Community Day

Services (CDS) & Residential Rates and Reimbursement.14

      31.      CDS programs have been completely omitted from Defendant Governor

Pritzker’s “Restore Illinois” Plan, even though there is no reason these programs

cannot follow the same public-health guidelines required of the manufacturing

businesses, non-overnight day camps, and child-care services that are presently

allowed to operate. CDS facilities can be set up to follow social-distancing guidelines,

and sanitation practices and mask requirements can easily be implemented.

      32.      On June 9, DHS issued an additional guidance letter to CDS providers

stating that the prohibition of CDS program operations will extend until at least

August 31, 2020, to be “consistent with the Illinois Department of Aging and their

decision to keep Adult Day Sites closed through August 31.” Allison Stark, Director,

DHS Division of Developmental Disabilities, Letter to Providers (June 9, 2020).

      33.      DHS has not given CDS providers any other guidance besides the initial

notice of closure and this June 9 extension of closure through August 31.

      34.      On June 17, 2020, Counsel for Plaintiff advised Defendants of the

illegality and unconstitutionality of their discriminatory treatment towards the

disabled citizens of this State.      Misha Tseytlin & Sean T.H. Dutton, Letter to

Defendants (June 17, 2020), Attached as Exhibit B.

      35.      In response, Defendants explicitly admitted their prejudice against the

disabled, based on claims that the entire group of persons like Plaintiff “have


      14   Available at https://www.dhs.state.il.us/page.aspx?item=123490.

                                            - 11 -
incredible difficulty following instructions, understanding the need for and/or

maintaining social distancing, hand washing and the need to wear masks in enclosed

environments.”. Exhibit A at 2. Furthermore, Defendants erroneously contended

that disabled individuals are especially vulnerable to COVID-19 because of

underlying health conditions, Exhibit A at 1–2, even though disabled persons are not

inherently at higher risk from COVID-19.           Defendants reiterated that they

“anticipate[d]” CDS programs will be allowed to restart, at the very earliest, by

September 1, 2020. Id.

     The Damaging Effects of the State’s Discriminatory Decision on Plaintiff

      36.    Plaintiff is a 46-year-old man who suffers from intellectual and

developmental disabilities, leaving him with the intellectual capacity of a 7-year-old.

      37.    Plaintiff is legally blind and deaf, and he communicates primarily

through sign language. He lives with his sister, Karen, who is his caretaker.

      38.    Before COVID-19, Plaintiff was a regular participant at CWTC, a CDS

program in his hometown of Peoria, Illinois, which he has attended on weekdays for

over 20 years.

      39.    CWTC has been in operation for over 60 years, and provides

intellectually and developmentally disabled workers with certain jobs that meet their

capabilities—in Plaintiff’s case, individually packaging construction hardware like

nuts and bolts for a large manufacturing company—while also providing them

attendant care and supervision.




                                        - 12 -
                                 Plaintiff working at CWTC.


      40.       CWTC has maintained long-term contracts with essential private firms,

employing roughly 170 disabled workers to process and package products for these

companies. See CWTC, CWTC.org, Organizational Employment.15

      41.       These contracts with manufacturing firms make CWTC an essential

business under Defendant Governor Pritzker’s various executive orders, so CWTC

has continued providing its packaging services even during the COVID-19 shutdown

of CDS programs. During this time, the work has been completed through the efforts

of its non-disabled employees who have replaced CWTC’s disabled workers while

DHS has forced CWTC to cease its CDS services.

      42.       In addition to the revenue CWTC receives from these contracts, it also

receives grant funding to support its operations. See CWTC, CWTC.org, Annual

Report at 2 (2019).16



      15   Available at https://www.cwtc.org/organizational-employment/.
      16      Available   at   https://www.cwtc.org/wp-content/uploads/2019/10/2019-Annual-
Report.pdf.

                                             - 13 -
      43.    CWTC is a superior provider of CDS programming, and its disabled

workers get personal satisfaction and a sense of purpose from their participation in

this program. CWTC also offers its disabled workers community programming, such

as an art show, annual awards dinner, and more.




                     Plaintiff and his sister giving the keynote
                     address at CWTC’s annual awards dinner.


      44.    CWTC has developed a plan to safely return to pre-COVID-19

operations, including reducing disabled workers’ hours so that there are never more

than 50 in the building at one time, maintaining appropriate distancing, instituting

increased sanitation measures, and suggesting transportation modifications so fewer

disabled workers take public transportation to the center.

      45.    Other CDS providers are similarly competent to institute their own

safety measures, consistent with all public-health guidelines, and to make their own




                                       - 14 -
determinations as to whether and when they can safely begin re-offering the essential

services they provide to the disabled citizens of this State.

       46.    Despite these extensive plans and competencies for re-opening, DHS’s

discriminatory decision orders closed CWTC and all other CDS providers through

August 31 on an across-the-board basis, with devastating effects on those who most

require DHS’s assistance, including Plaintiff.

       47.    In particular, Plaintiff’s mental health has declined as a result of the

State’s and DHS’s shuttering of CWTC, necessitating an increase in his anti-

depressant and anti-anxiety medications. He has also broken down in tears and

asked his caretaker-sister if he still had a job or when he could return to work.

       48.    Beyond these grave emotional and mental harms inflicted on disabled

workers like Plaintiff, disabled workers are currently unable to earn any income or

receive the other crucial services CDS programs provide, as a direct result of DHS’s

closure of such programs through August 31.

                                  CLAIMS FOR RELIEF

                                       COUNT I
                          Section 504 of the Rehabilitation Act
                                    29 U.S.C. § 794

       49.    Plaintiff incorporates and realleges Paragraphs 1 through 48 as if fully

set forth herein.

       50.    Section 504 of the Rehabilitation Act provides that “[n]o otherwise

qualified individual with a disability . . . shall, solely by reason of her or his disability,

be excluded from the participation in, be denied the benefits of, or be subjected to


                                            - 15 -
discrimination under any program or activity receiving Federal financial assistance.”

29 U.S.C. § 794(a).

      51.    Plaintiff is disabled under the Rehabilitation Act, as his intellectual and

developmental disabilities, deafness, and legal blindness substantially limit one or

more of his major life activities. See Garg v. Potter, 521 F.3d 731, 736 (7th Cir. 2008).

      52.    Plaintiff is fully qualified to participate in CDS programs and had been

successfully doing so for over 20 years before the DHS shuttered these programs

because of COVID-19.

      53.    The State of Illinois and DHS receive federal funds to operate their

programs, including programs for the disabled like CDS.

      54.    Defendants have intentionally excluded Plaintiff from the benefits of

CDS programs solely on the basis of his disability, as noted in Defendants’ abhorrent

explanation of the basis for their decision, where Defendants stated that “individuals

with intellectual and developmental disabilities . . . have incredible difficulty

following instructions, understanding the need for and/or maintaining social

distancing, hand washing and the need to wear masks in enclosed environments.”

Exhibit A.

      55.    The discriminatory basis for the State’s decision is also evident from

DHS’s express allowance of non-disabled employees of CDS programs to continue to

conduct essential functions that were previously assigned to the disabled workers in

CDS programs, as well as DHS’s decision to allow its funding to continue to be used




                                         - 16 -
to pay CDS employees’ salaries, while at the same time barring disabled adults from

these programs, statewide, through August 31.

      56.    Second, Defendants have discriminated against Plaintiff by refusing to

even consider making reasonable accommodations or modifications to the broad-

based policy excluding all disabled people from participation in this vital program,

regardless of the capabilities of any individual disabled person to comply with the

State’s COVID-19 safety guidelines.

      57.    Many disabled citizens, including Plaintiff, are fully capable of following

basic sanitation requirements, such as handwashing and mask-wearing, and have no

underlying medical conditions that make them particularly susceptible to COVID-19.

But, instead of making reasonable accommodations to permit these individuals to

resume participating in their CDS programs, Defendants have barred disabled

individuals, as a class, from taking part in these critically needed programs until at

least August 31.

      58.    Finally, Defendants’ discriminatory conduct is evident from the

disparate treatment the disabled are facing as compared to the able-bodied, including

the clear disparity between the State’s across-the-board prohibition on the safe

resumption of CDS programs and the State’s rules for manufacturing businesses and

non-overnight day camps for children, the latter of which are similar to CDS

programs but which are currently allowed to operate under “Phase 3” of the

Governor’s “Restore Illinois” Plan.




                                         - 17 -
      59.    Disabled adults have no greater risks from COVID-19 than the general

population, CDC, Coronavirus Disease 2019 (COVID-19): People with Disabilities,

supra, such as the general public who work at these manufacturing businesses and

the children who attend these non-overnight day camps.

      60.    Rather than treat Plaintiff and other disabled workers equally to these

similar groups, Defendants have instead lumped them in with the elderly, tie-barring

the re-opening of CDS services to similar programs for senior citizens. But, unlike

the disabled, the elderly do face higher risks from COVID-19. See CDC, Coronavirus

Disease 2019 (COVID-19): Older Adults, supra.

      61.    There is no basis other than Plaintiff’s disability on which Defendants

could have relied to shutter completely CDS programs, while allowing these similar

groups to operate while following public-health guidelines, such as social distancing,

mandating masks, and increased sanitation procedures.

      62.    Defendants’ discrimination against the disabled evinces paternalistic

concerns, and their blanket exclusion of all disabled adults from these programs

violates Plaintiff’s rights under the Rehabilitation Act. See Knapp v. Nw. Univ., 101

F.3d 473, 483, 485–86 (7th Cir. 1996).

      63.    Defendants’ discriminatory treatment against Plaintiff—and other

disabled citizens across Illinois—caused and will continue to cause Plaintiff grave

emotional, mental, and financial harm.

      64.    Plaintiff has no adequate legal remedy for the continuing irreparable

harm Defendants have inflicted upon him, which cannot be fully and adequately


                                         - 18 -
addressed through an award of damages. Furthermore, Defendants will suffer no

harm if required to comply with federal anti-discrimination law, and the public

interest requires the government to abide by federal law.

                                      COUNT II
                                  Title II of the ADA
                                  42 U.S.C. § 12131

      65.    Plaintiff incorporates and realleges Paragraphs 1 through 64 as if fully

set forth herein.

      66.    Title II of the ADA prohibits a public entity from excluding a disabled

individual “from participation in,” or denying them the benefits of, any “services,

programs, or activities of [the] public entity.” 42 U.S.C. § 12132.

      67.    Plaintiff is a “qualified individual with a disability,” 42 U.S.C.

§ 12131(2), given that he is legally blind, deaf, and developmentally disabled, and he

is fully qualified to continue to participate in the CDS programs he has been a part

of for over 20 years, with or without a reasonable accommodation.

      68.    Defendants have denied Plaintiff the services and programs of a public

entity—DHS—by completely excluding him and all other disabled adults from CDS

programs through August 31.

      69.    Defendants have done so explicitly on the basis of his disability and their

own prejudicial assumptions about the disabled, as evidenced by their June 19, 2020

letter. Exhibit A.

      70.    Defendants have also discriminated against the disabled under the ADA

by refusing to allow, or even consider allowing, these programs to re-open with


                                         - 19 -
“reasonable accommodations” in place to address any specific disabled citizen’s ability

to abide by the same social distancing, personal protective equipment, and adequate

sanitation guidelines governing non-disabled participants in similar businesses and

programs that have been, or soon will be, permitted to reopen under Defendant

Governor Pritzker’s “Restore Illinois” Plan. And many disabled citizens, including

Plaintiff, would not need reasonable accommodation at all because they are fully

capable of following basic sanitation requirements, such as handwashing and mask-

wearing. Thus, it is unreasonable to refuse to make accommodations or modifications

to the current restrictions, as such position is supported by neither facts nor science.

      71.    This statewide shuttering of CDS programs also constitutes disparate-

treatment-based discrimination against the disabled, given that such programs have

been treated less favorably than similar businesses and programs for the able-

bodied—including manufacturing businesses, non-overnight day camps for children,

and summer school for all children from pre-kindergarten through 12th grade—

which are presently allowed to operate while following public-health guidelines.

      72.    Such discrimination and failure to reasonably accommodate Plaintiff is

based on his status as a person with a disability, in violation of the ADA.

      73.    Plaintiff has suffered, and will continue to suffer, grave mental and

emotional harm and lost wages as a result of Defendants’ malfeasance.

      74.    Given the obvious nature of this disability discrimination and

Defendants’ refusal to rectify the discrimination when presented with facts showing




                                         - 20 -
clear discriminatory treatment, Defendants’ actions also constitute deliberate

indifference of Plaintiff’s federally protected rights.

      75.    Plaintiff has no adequate legal remedy for the continuing irreparable

harm Defendants have inflicted upon him, which cannot be fully and adequately

addressed through an award of damages. Furthermore, Defendants will suffer no

harm if required to comply with federal anti-discrimination law, and the public

interest requires the government to abide by federal law.

                                     COUNT III
                                   Equal Protection
                       U.S. Const. Amend XIV, 42 U.S.C. § 1983

      76.    Plaintiff incorporates and realleges Paragraphs 1 through 75 as if fully

set forth herein.

      77.    The Equal Protection Clause of the Fourteenth Amendment provides

that “[n]o State shall . . . deny to any person within its jurisdiction the equal

protection of the laws.” U.S. Const. amend. XIV, § 1. The Equal Protection Clause’s

“command” is that “all persons similarly situated should be treated alike.” Tennessee

v. Lane, 541 U.S. 509, 522 (2004) (quoting City of Cleburne v. Cleburne Living Center,

Inc., 473 U.S. 432, 439 (1985)).

      78.    Laws and policies that discriminate against persons with intellectual

and developmental disabilities are subject to “rational-basis review,” which requires

the State to show a “rational relationship between the disparity of treatment and

some legitimate governmental purpose.” Bd. of Trustees of Univ. of Ala. v. Garrett,

531 U.S. 356, 366– 67 (2001).


                                          - 21 -
      79.    A “State may not rely on a classification whose relationship to an

asserted goal is so attenuated as to render the distinction arbitrary or irrational”;

therefore, the Constitution prohibits discrimination that “rest[s] on an irrational

prejudice against the mentally [disabled].” Cleburne, 473 U.S. at 446, 450.

      80.    Manufacturing employees, youth attendees of day camps, and children

in Summer school classes from pre-kindergarten through 12th grade are “most like”

the disabled workers in CDS programs, meaning they are the relevant comparators

for treatment. Elim Romanian Pentecostal Church v. Pritzker, ___ F.3d ___, 2020

WL 3249062, at *5 (7th Cir. June 16, 2020).

      81.    Plaintiff is similarly situated to these able-bodied citizens in the context

of COVID-19.        See CDC, Coronavirus Disease 2019 (COVID-19): People with

Disabilities (Apr. 7, 2020), supra.

      82.    Because Defendants have no legitimate basis to distinguish the disabled

from the general population with respect to the decision to safely re-open under

Defendant Governor Pritzker’s “Restore Illinois” Plan, this decision is “arbitrary” and

“rest[s] on an irrational prejudice against the mentally [disabled].” Cleburne, 473

U.S. at 446, 450.

      83.    Defendants have explicitly discriminated against Plaintiff based on

nothing more than irrational prejudice about his intellectual and developmental

disability. Exhibit A.

      84.    As a result, Plaintiff has suffered and will continue to suffer from

Defendants’ unconstitutional misconduct.


                                         - 22 -
       85.    Plaintiff has no adequate legal remedy for the continuing irreparable

harm Defendants have inflicted upon him, which cannot be fully and adequately

addressed through an award of damages. Furthermore, Defendants will suffer no

harm if required to comply with the Constitution, and the public interest requires the

government to abide by the Constitution.

                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court grant the

following relief:

       a.     A temporary restraining order or preliminary injunction restraining

Defendants, and all those acting in concert with them, from:

             i. Mandating the continued shuttering of CWTC, which is presently able

                to safely open consistent with public-health guidelines; and

             ii. Enforcing the statewide closure of all Community Day Services

                programs through at least August 31, 2020;

       b.     A permanent injunction restraining Defendants, and all those acting in

concert with them, from:

             i. Mandating the continued shuttering of CWTC, which is presently able

                to safely open consistent with public-health guidelines; and

             ii. Enforcing the statewide closure of all Community Day Services

                programs through at least August 31, 2020;

       c.     A declaratory judgment that the statewide closure of all Community

Day Services programs:


                                         - 23 -
             i. Violates Plaintiff’s rights under Section 504 of the Rehabilitation Act;

            ii. Violates Plaintiff’s rights under Title II of the ADA;

            iii. Is unconstitutional, in violation of Plaintiff’s rights under the Equal

                Protection Clause of the Fourteenth Amendment;

       d.     Compensatory damages under the Rehabilitation Act and Title II of the

ADA;

       e.     An award of costs of this litigation, including reasonable attorneys’ fees,

pursuant to 42 U.S.C. § 1988 and 28 U.S.C. § 1920; and

       f.     Such other and further relief as the Court may deem just and proper.




                                          - 24 -
Dated, June 23, 2020

                          Respectfully Submitted,

                          /s/ Misha Tseytlin
                          MISHA TSEYTLIN
                          SEAN T.H. DUTTON
                          TROUTMAN SANDERS LLP
                          227 W. Monroe Street
                          Suite 3900
                          Chicago, IL 60606
                          (608) 999-1240
                          (312) 759-1939 (fax)
                          misha.tseytlin@troutman.com
                          sean.dutton@troutman.com

                          BLAKE T. HANNAFAN
                          HANNAFAN & HANNAFAN, LTD.
                          180 N. Lasalle Street
                          Suite 3700
                          Chicago, IL 60601
                          (312) 527-0055
                          (312) 527-0220 (fax)
                          bth@hannafanlaw.com

                          Attorneys for Plaintiff John McDonald




                       - 25 -
                           CERTIFICATE OF SERVICE

      I hereby certify that on the 23rd day of June, 2020, a true and accurate copy of

the foregoing was served on counsel for both Defendants, who have agreed to accept

service via email, at the email addresses below:



            Gary S. Caplan                                   Meghan Maine
       Deputy General Counsel                           Deputy General Counsel
 Office of the Governor, J.B. Pritzker             Illinois Dep’t of Human Services
       gary.caplan@illinois.gov                       meghan.maine@illinois.gov




                                            /s/ Misha Tseytlin
                                            MISHA TSEYTLIN
                                            TROUTMAN SANDERS LLP
                                            227 W. Monroe Street
                                            Suite 3900
                                            Chicago, IL 60606
                                            (608) 999-1240
                                            (312) 759-1939 (fax)
                                            misha.tseytlin@troutman.com
